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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 ROBERT McDONEL,
                                                                Criminal Case Number 07-20189
                        Petitioner,                             Civil Case Number 12-11205
 v.                                                             Honorable David M. Lawson

 UNITED STATES OF AMERICA,

                   Respondent.
 ______________________________________ /

        ORDER DENYING MOTION FOR A CERTIFICATE OF APPEALABILITY

        The petitioner filed a motion to vacate his sentence under 28 U.S.C. § 2255 on March 16,

 2012 and an amended motion on November 18, 2014. The Court filed an opinion and order on

 March 25, 2015 determining that the petitioner’s motions were untimely and he was not entitled to

 equitable tolling. On that basis, the Court denied the petitioner’s motion and entered judgment.

        Pursuant to Rule 11 of the Rules Governing Section 2255 Proceedings, which was amended

 as of December 1, 2009:

        The district court must issue or deny a certificate of appealability when it enters a
        final order adverse to the applicant . . . . If the court issues a certificate, the court
        must state the specific issue or issues that satisfy the showing required by 28 U.S.C.
        § 2253(c)(2). If the court denies a certificate, a party may not appeal the denial but
        may seek a certificate from the court of appeals under Federal Rule of Appellate
        Procedure 22.

 Rule 11, Rules Governing Section 2255 Proceedings.

        A certificate of appealability may issue “only if the applicant has made a substantial showing

 of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate

 of appealability indicating which issues satisfy the required showing or provide reasons why such

 a certificate should not issue. 28 U.S.C. § 2253(c)(3); Fed. R. App. P. 22(b); In re Certificates of

 Appealability, 106 F.3d 1306, 1307 (6th Cir. 1997). To receive a certificate of appealability, “a
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 petitioner must show that reasonable jurists could debate whether (or, for that matter, agree that) the

 petition should have been resolved in a different manner or that the issues presented were adequate

 to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)

 (internal quotes and citations omitted).

        The Court now concludes that reasonable jurists could not debate whether the petitioner filed

 his motions after the period of limitation or whether the petitioner is entitled to equitable tolling.

 The Court therefore will deny a certificate of appealability.

        Accordingly, it is ORDERED that a certificate of appealability is DENIED.

                                                         s/David M. Lawson
                                                         DAVID M. LAWSON
                                                         United States District Judge

 Dated: March 25, 2015


                                                   PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on March 25, 2015.

                                                             s/Susan Pinkowski
                                                             SUSAN PINKOWSKI




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